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UNITED STATES DISTRICT COURT CLERK is G BRUTON
FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN pivigt Ky DISTRICT CourT

)
Joel A. Brodsky )
) 1:22-cv-06462
Plaintiff ) Judge Sharon Johnson Coleman
) Magistrate Judge Sunil R. Harjani
Vv. ) No. RANDOM
)
Federal Bureau of Investigations anagency ) Judge:
of the United States of America, )
) Magistrate:
Defendant. )
)
)

FREEDOM OF INFORMATION ACT COMPLAINT

Introduction

1. Plaintiff, Joel A. Brodsky, brings this action under the Freedom of Information Act, 5
U.S.C. §552, (“FOIA”), to compel Defendant, the Federal Bureau of Investigations, (“FBI”), to
disclose all documents requested by Plaintiff from Defendant under the provisions of the FOIA.
On October 11, 2020, Plaintiff requested copies of specified documents maintained or indexed by
the FBI concerning the Plaintiff Joel A: Brodsky. None of the documents requested have been
provided. Relief is sought from this Court.

Jurisdiction and Venue

2. This Court has jurisdiction over this action pursuant to 5 U.S.C. §552(a)(4)(B) and 28
U.S.C. §1331.

3. Venue lies in the this district pursuant to 5 U.S.C. §552(a)(4)(B).

Parties
4. Plaintiff, Joel A. Brodsky, (hereinafter “Brodsky”) is a natural born citizen of the United

States Of America, who is a citizen of the State of Illinois and is a resident of the City of Chicago,
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County Of Cook, State of Ilinois.

5. Defendant, Federal Bureau of Investigations, is an agency of the United States. The FBI

has possession and control of the records at issue.
Facts

6. On October 11, 2020, Plaintiff submitted a Freedom of Information Act (“FOIA”)
request to the Record/Information Dissemination Section of the FBI, along with his DOJ-36
Certification of Identity. The request asked for copies of specified documents maintained or
indexed by the FBI under the name of Plaintiff, or concerning matters in which the Plaintiff was
involved, including investigations in which he was a cooperating informant (CI) or cooperating
witness (CW) for several FBI Special Agents. The period for which documents were requested
was for several different specified periods between January 1, 2000 and October 11, 2020. Plaintiff
also stated in the FOIA request that he is willing to pay for the reasonable costs of production of
the documents and materials. (Exhibit “A”)

7. One of the specified periods in Plaintiff's FOIA request is for the period between 2000
and 2006. During that period the Plaintiff was a CW/CI for several different FBI Special Agents
in three (3) different investigations, including two (2) where he wore a recording devise and
recorded conversations with subjects of the investigations. The investigations where Plaintiff wore
a recording devise were (a) investigation into suspected illegal activity and suspected corruption,
within the Domestic Relations Division of the Circuit Court of Cook County, Illinois, and (b)
investigation into the murder of an organized crime member by other members of organized crime
in Chicago, Illinois. (See Exhibits “A” and “G”)

8. On October 15, 2020, the FBI responded to the Plaintiff’s FOIA request stating that it

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was “unable to identify records responsive to your request” and that the “request is being closed”.
(Exhibit “B”)

9. Plaintiff knew that the forgoing response of the FBI that it was unable to identify
records was incorrect because he had copies of some of the records where he was a CI/CW for the
FBI.

10. Therefore on October 23, 2020, Plaintiff timely filed an Administrative Appeal with
the U.S. Department of Justice asking that the erroneous response of October 15, 2020 to Plaintiffs
FOIA request be reversed and that the documents be produced. (Exhibits “C” and “D”)

11. Also, on October 23, 2020 the Plaintiff submitted a request for assistance with the
FOIA Ombudsman at the Office of Government Information Services (OGIS), and the FBI FOIA
Dispute Resolution Services asking them to intercede with the FBI to correct the obvious erroneous
response of October 15, 2020 to Plaintiffs FOIA request.

12. Then on October 30, 2020 the Plaintiff was informed by the FBI FOIA Dispute
Resolution Services that his FOIA request was being reopened, would be assigned a new FOIA
request number, and processing of Plaintiffs FOIA request would start again. (Exhibit “E”)

13. On November 4, 2020 the Plaintiff received a Notice from the Record/Information
Dissemination Section of the FBI informing him that his FOIA request has been received by that
office for processing, and providing him with his new FOIA request number. (Exhibit “F”’)

14. On January 13, 2021 Plaintiff made a written request to the Record/Information
Dissemination Section of the FBI asking that his FOIA request be processed on an expedited basis
under 28 CFR 16.5(d)(1)(iii). This request was denied on January 21, 2021 because the Plaintiff

did not supply sufficient information for the requested to be expedited. (Exhibits “G” and “H”)

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15. On February 27, 2020 Plaintiff made a second written request to the
Record/Information Dissemination Section of the FBI asking that his FOIA request be processed
on an expedited basis under 28 CFR 16.5(d)(1)(iii). The second request supplied specific facts
regarding the reasons the FOIA request should be expedited. This second request was denied on
May 10, 2021. (Exhibits “T’ and “J”)

16. On May 11, 2021 Plaintiff was informed by an email sent from the FBI Information
Management Division that his FOIA request had been assigned to an analyst who would be
searching for, reviewing and reviewing potentially responsive records. (Exhibit “K”)

17. In what can only be described as highly unusual for an FOIA request, in mid-August
2021 the Plaintiff was contacted by FBI Special Agent R.M. (SA R.M.) to arrange a meeting
regarding the Plaintiff's FOIA request. Then on August 27, 2021 the Plaintiff met with SA R.M.
at the FBI Chicago field office at 2111 W. Roosevelt Rd., Chicago. At that meeting SA R.M.
correctly described in general terms the nature of materials the FBI had regarding Plaintiff. SA
RM. stated that he had been instructed to confirm that the Plaintiff was not being coerced or
threatened into making his FOIA request, and to inform the Plaintiff that once these materials had
been sent to the Plaintiff the FBI could not be responsible for the security of those materials. SA
R.M. stated he was to submit a report confirming that the Plaintiff was making the FOIA request
as his free and voluntary act and that he understood that once the materials left the FBI, they could
not guarantee their security. Plaintiff informed SA R.M. that he had made the FOIA request, he
was not being coerced or forced to do so, and he understood that once the materials had been sent
to him the FBI could no longer assure their security. SA R.M. then told Plaintiff that he was

satisfied with what Plaintiff had told him and would submit a report to that effect within the week.

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18. On March 9, 2022 a check of the status of the Plaintiffs FOIA request on the FBI’s
web portal revealed that “The FBI’s FOIPA program has identified potential responsive
information to your request(s) and awaits assignment to a Government Information Specialist
(GIS) for further processing”.

19. On September 1, 2022, in response to a voice mail message left by Plaintiff for the
Chief of the FBI’s Record/Information Dissemination Section, the Plaintiffreceived an email from
the FBI’s Public Information Officer in the Information Management Division which informed the
Plaintiff that,

“A review of your request has determined the following: The request is presently awaiting

assignment to a Disclosure analyst who will then review the records to determine if any

redactions are required pursuant to subsections of Title 5, U. S. Code, Section 552 and

552a.” (Exhibit “L)

20. However, on November 9, 2022, in response to a check on the status of Plaintiff's
FIOA request on the FBI’s FOIA web portal, the Plaintiff was given the same response he had
been given on March 9, 2022, i.e. that, “The FBI’s FOIPA program has identified potential
responsive information to your request(s) and awaits assignment to a Government Information
Specialist (GIS) for further processing”. (Exhibit “M”)

21. Because on August 27, 2021, over a year ago, Special Agent R.M. had already been
told by a superior at the FBI about the nature and contents of the documents and materials
requested by Plaintiff, as well as what information they contained, it is a reasonable inference that
the FBI Record/Information Dissemination Section has already located and looked at the materials
that the Plaintiff is entitled to have copies of pursuant to his FOJA request. Despite this and

despite the fact that it has been over 766 days since the Plaintiff submitted his FOIA Request to

the FBI the Plaintiff still has not been provided copies of any of the documents he requested.

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Cause of Action
Freedom of information Act- Wrongful Withholding of Records

22. Plaintiff re-alleges and incorporates the allegations contained in paragraphs 1 through
21 of this Complaint.

23. Plaintiff has exhausted his administrative remedies, including filing a timely appeal,
engaging with the FOIA Ombudsman at the Office of Government Information Services (OGIS),
and the FBI FOIA Dispute Resolution Services, asking that the processing of his FOIA request be
expedited, and reaching out to the Chief of the FBI’s Record/Information Dissemination Section .

24. The materials requested do not fall within any exemption of 5 U.S.C. §552. However,
if despite the fact that none of the materials are exempt from disclosure, the FBI still has concerns
regarding the release of some of the information contained in the materials, 5 U.S.C. §552 provides
that the Court may conduct an in camera examination of the contents of any such records.

25. Plaintiff has requested release of these documents and records but the records and
materials have not been promptly disclosed to the Plaintiff as required by 5 U.S.C. §552. Because
it has been over 766 days since the Plaintiff submitted his FOIA request, and because the records
and materials have not been promptly released to the Plaintiff, the Plaintiff has been de facto been
denied disclosure in violation of 5 U.S.C. §552(a)(3)(A) and 5 U.S.C. §552(a)(4)(B).

26. It is the agency's burden to sustain denying the release of, or failing to promptly
disclose, the records Plaintiff has requested in his FOIA request.

27. Plaintiff has a statutory right under FOIA to the materials requested and there is no

justification for the FBI failure to provide the records.

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Relief Requested
Wherefore, Plaintiff prays this Honorable Court:

1. Pursuant to 5 U.S.C. §552, order the FBI to produce records denied to Plaintiff within
the next thirty (30) days;

2. Pursuant to 5 U.S.C. §552, order an injunction requiring the FBI to cease withholding
the records and materials requested by the Plaintiff;

3. Award Plaintiff his costs also award him reasonable compensation for his time expended
in this matter as a “litigation cost” expended in this matter pursuant to 5 U.S.C. 552; and

4. Order such other and further relief this Court deems proper.

Respectfully Submitted
Joel A. Brodsky, pro se

/s/ Joel A. Brodsky
Joel A. Brodsky, pro se

Joel A. Brodsky

Appellant — Pro Se

3240 N. Lake Shore Dr., Apt. 8C
Chicago IL 60657

(312) 523-9570
joelbrodsky@sbcglobal.net

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JOEL A. BRODSKY
3240 N. Lake Shore Drive, Apt. &C, Chicago IL 60657

October 11, 2020
Federal Bureau of Investigations
Record/Information Dissemination Section
Attn: FOIPA Request
170 Marcel Drive
Winchester, VA 22602-4843
Re: FOIA Request to Federal Bureau of Investigations;
Dear FOIA Officer:
This is a request under the Freedom of information Act. See Attached Rider
Date Range: January 1, 2000 to December 31, 2006, and January 1, 2000 to present,

Description of Request: See Attached Rider; My DOJ-36 Certification of Identity is enclosed.

this request "elated to: See Attached Rider

lam willing to pay up to $500 for the processing of this request. Please inform me if the
estimated fees will exceed this limit before processing my request.

| am seeking information for personal use, afd not for commercial use.

Please send ail responses to me at 3240 N. Lake Shore Dr., Apt. 8C, Chicago IL 60657
If you have any questions, please call. Thank you for your consideration.

Chicago IL 60657 |
United States of America

a
joelbrodsky@sbcglobal.net

Enc. Rider to FOIA Request to FBI (2 pages)
Certfificate of Identity, Form DOJ-361 (1 page)

Exhibit "A"

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RIDER TO FOIA REQUEST TO FBI
BY JOEL A. BRODSKY DATED 10/11/2020

Note: This FOIA request concerns, and is being made by, Joel A. Brodsky, who
was a CI/CW for the FBI, and who was told by SA EE that was given
the code name/cover name EEE. My full name is Joel Alan Brodsky, DOB:

En My signed DOJ-361 Certificate of Identity form is

attached.

Note: I have some records of my involvement as a CI/CW, so a response that no
records can be located will be appealed, as I know, and I can prove, that records
exist.

A. Any and all documents, reports, or communications regarding or
referring to Joel Alan Brodsky, Joel A. Brodsky or Joel Brodsky, who was a
cooperating informant (CI) or cooperating witness (CW) for the FBI and who was
given the FBI code name/cover name (I, and who worked with or at the
direction of FBI Special Agent NNN, and/or FBI Special Agents
GB and/or FBI Special Agent SNE This section of this FOIA
request is for the period between 2000 and 2006.

B. Any and all documents, reports, or communications regarding or
referring to Joel Alan Brodsky, Joel A. Brodsky or Joel Brodsky who was a
cooperating informant (CI) or cooperating witness (CW) for the FBI and who was
given the FBI code name/cover name {MM This section of the FOIA request is
for the period between 2000 and 2019.

C. Any and all documents, reports, or communications regarding or
referring to Joel Alan Brodsky, Joel A. Brodsky or Joel Brodsky in regard to an

BEE vestigation into the conduct of I, 2t ny

time after 2001.

tials

Page 2 of 2

D. Any and all documents, reports, or communications regarding or

referring to an internal FBI investigation(s) into the ee
EE at any time after 2001.

. 5K. Any and all documents, reports, or communications regarding or
referring to Joel Alan Brodsky, Joel A. Brodsky or Joel Brodsky at any time after
2001.

F. Any and all documents, reports, or communications regarding or
referring to an investigation into suspected criminal activity, suspected illegal
activity and/or suspected corruption, within the Domestic Relations Division (a/k/a
Divorce Division) of the Circuit Court of Cook County, Illinois, by the FBI at any
time between 2000 and 2020, including, but not limited to, investigations conducted
by FBI Special EE and/or FBI Special ee
and/or FBI Special Agent and/or FBI Special Agents a
EE and/or FBI Special Agent

G. Any and all documents, reports, or communications within paragraph
(F) of this FOIA request, which in any way involved cooperating informant (CIV
cooperating witness (CW) Joel A. Brodsky, (who was assigned/given the FBI code
name/cover name), and who, at the direction of the FBI special agent(s),
secretly recorded conversations he had with subjects including, but not limited to,

SN homes daring the per

between 2000 and 2006;
i/ Joel A. CY

7. Caser1:22-Cv-06462 Document # T Filed 1T8i2z2 Page Tt of 28 PagetD #14

U.S Department of Jastice Certification of Identity

FORM APPROVED 0623 NO.
1903-6016 EXPIRES @837L2020

Privacy Act Statement. In accordance with 28 CFR Section 16.41(d) personal data sufficient to identify the individesis submitting requests by
wai] under the Privacy Act of 1974, 5 U.S.C. Section 552a, is required. The purpose of this solicitation is to ensure that the records of individuals
who we the subject of U.S. Department of Justice systems of records are not wrongfully disclosed by the Department. Requests will not be
processed if this information is not furnished. False information on this form may subject the requester to criminal penalties ander 18 U.S.C.
Section 1001 and/or 5 U.S.C. Section 552a(1)(3).

Public reporting burden for this collection. of information is estimated to average 0.50 hours per respoute, including the time for reviewing
information. Suggestions for reducing this burden may be submitted to the Office of Information and Regulatory Affairs, Office of Management
and Budget, Public Use Reports Project (1103-0016), Washington, DC 20503.

Full Name of Requester ' Joel Alan Brodsky

Citizenship Status ? United States ofAmerica gis orn

C Add 3240 N. Lake Shore Drive, Apt. 8C., Chicago IL 60657

ee oc inh i

OPTIONAL: Authorization to Release Information to Another Person

% This form is also to be completed by a requester who is authorizing information relating to himself or herself to be released to another person.
Further, pursusnt to 5 U.S.C. Section 552a(b), I authorize the U.S. Department of Justice to release any and ail information relating to asc toc
Not Applicable

Print or Type Name

| declare under penalty of perjury under the laws of the United States of Am that the foregoing is true and correct, and that I am the person
named ebove, and I understand that any falsification of this statement is pdni le under the provisions of 18 U.S.C. Section 1001 by a fine ef
i or both, and that requesting or obtaining any record(s) under
"pretenses is punishable under the & fine of not more than $5,000. ;

Date October 11, 2020

"Name of individual who is the subject of the 's) sought.

* tadividual submitting & request under the Privacy Act of 1974 must be either “a citizen of the United States or an alien lawfully
admitted for permanent residence,” pursuant to 5 U.S.C. Section 552e(a(2). Requests will be processed as Freedom of information Act
requests pursuant to S$ U.S.C. Section 552, rather than Privacy Act requests, for individuals who are not United States citizens or aliens

prvi ne you soil sooty number only to facilitate the

iding your social security aumber is voluntary. You are asked to provide your social security to facil
identification of records relating to you. Without your social security number, the Department may be unable to locate any or aii records
pertaining t0 you.

‘Signature of individual who is the subject of the recor! sought.

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U.S. Dopartment of Justice

Federal Burcau of Investigation
Washington, D.C. 20535

October 15, 2020

MR. JOEL ALAN BRODSKY
APARTMENT 8C

3240 NORTH LAKE SHORE DRIVE
CHICAGO, IL 60657

Ree Ocoee A
Subject: BRO’ ' ALAN
Dear Mr. Brodsky:

This is in response to your Freedom of Information/Privacy Acts (FOIPA) request. Based on the
information you provided, we conducted a search of the places reasonably expected to have records.
However, we were unable to identify records responsive to your request. Therefore, your request Is being
closed. if you have additional information pertaining to the subject of your request, please submit a new
request providing the details, and we will conduct an additional search.

pecific to your request.

Please see the paragraphs below for relevant information that may be s
If no boxes are checked,

Only checked boxes contain coresponding paragraphs relevant to your request.
the corresponding information does not apply.

r Please be advised that ydur request was reopened based on the additional information you
provided. Anew search was conducted, and we were unable to identify responsive records.

r Records potentially responsive to your request were destroyed. Since this material could not be
reviewed, it is not known if it was responsive to your request. Record retention and disposal Is
cartied out under supervision of the National Archives and Records Administration (NARA)
according to Title 44 United States Code Section 3301, Title 36 Code of Federal Regulations (CFR)
Chapter 12 Sub-chapter B Part 1228, and 36 CFR 1229.10. Please be advised that the General
Records Schedule (GRS) disposition authority for FOIPA records is DAA-GRS-2016-0002-0001

(GRS. 4.2, Item 020):

rc Records potentially responsive to your request were transferred to the National Archives and
Records Administration (NARA). if you wish to:review these records, file a FOIPA request with

NARA at the following address:

National Archives and Records:Administration
Special Access and FOIA

8601 Adelphi Read, Room 6500

College Park, MD 20740-6001

r Potentially respensiva records were identified during the search. However, we were advised that
they were not in their expected [ocations. An additional search for the missing records also met
with unsuccessful results. Since we were unable to review the records, we were unable to

determine if they were responsive to your request.

r The portion of your request conceming an FBI identification record — commanily referred to.as.a
criminal history record or “rap sheet” - has been forwarded to the Criminal Justice Information
Sérvices (CJIS) Division for processing. Fer additional information, sea the enclosed FBI FOIPA

Addendum General Infermatian Section.

r Requests fer expedited processing are not applicable when a final response is issued within ten
calendar days.

rc Police departments should be aware that the search conducted was limited to FBI records.

Requests for criminal history records or rap sheets should be directed to Criminal Justice
information Services (CJIS). Information regarding CJIS Is listed in the enclosed FBI FOIPA

Addendum General Information Section. qe
Exhibit "B"

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Records potentially responsive to
” Rat : your request were transferred to the Nationat Personnel Records
Genter panian Personne! Records (NPRC-CPR). In order to obtain information on a file located
» your request must be mailed to the following address:

National Archives and Records Administration
ATTN: Archival Programs

P.Q. Box 38757

St. Louis, MO 63138.

Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to
your request. . Part 1” of the Addendum includes standard responses that apply to.all requests. “Part 2”
includes additional standard responses that apply to all requests for records about yourself or any third party
individuals. “Part 3” includes general information about FBI records that you may find useful. Also
enclosed is our Explanation of Exemptions.

_. For questions regarding our determinations, visit the yavw fbi aevitoia website under “Contact
Us.” The FOIPA Request Number listed above has been assigned to your request. Please use this number
in all correspondence conceming your request.

if you are not satisfied with the Federal Sureau of Investigation’s determination in response to this
request, you may administratively appeal by writing to the Director, Office of Information Policy: (OIP), United
States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
appeal through O!P’s FOIA STAR portal by creating an account following the instructions on OIP’s website:
httos:/Avww justice govloip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
electronically transmitted within ninety (90) days of the date of my response to your request. if you submit
your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of Information Act
Appeal.” Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

You may seek dispute resolution services. by contacting the Office of Goverment Information
Services (OGIS). The contact information for OGIS is as follows: Office of Govemment Information
Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
20740-6001, e-mail at ogis@nara.qoy: telephone at 202-741-5770; toll free at 1-S77-654-6448; or facsimile
at 202-741-5769. Altematively, you may contact {he FBI's FOIA Public Liaison by emailing
foipaquestions@fbi.gov. If you submit your dispute resolution comespondence by email, the subject
heading should clearly state ‘Dispute Resolution Services.” Please also cite the FOIPA Request Number
assigned to your request so it may be easily identified.

Sincerely,

Michael G, Seidel

Section Chief

Record/information
Dissemination Section

Information Management Division

Enclosures

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’ FBI FOIPA Addendum

As referenced in our lotter respondin
Addendum provides Information app
to all requests, Part 2 includes stan
request secks the listed Information.

g to your Freedom of Information/Privacy Acts (FOIPA) roquest, tho FBI FOIPA

licable to your request. Part 1 of tho Addendum includes standard responses that apply
dard responses that apply to requests for records about Individuals to tho oxtont your
Part 3 Includes genoral information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

0 5 U.S.C. § 552(¢). Congress excluded three categories of law enforcement and national security records from the
requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the

requirements ofthe FOIPA. Additional information about the FBI and the FOIPA can be found on the www. fbi gov/fola_

di) Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the
FBI can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
requests for records aboitt individuals, PA exemption ()}(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and ()(2)}._ The mere
acknowledgment of the existence er nonexistence of such records is itself a classified fact protected by FOIA exemption
(b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

0) Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
any individual's name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption ()(2) [5 U.S.C. §§
ssarss2e OTE), @(2)). This.is a standard response and should not be read to indicate that watch fist records do or

0 not exis

a) Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to
FOIA exemption (b)(3) and PA exemption ())(2) {5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (}(2)]. Thisisa
standard response and should not be read to indicate that such records do or do not exist.

(ii) Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to

FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption ()(2) [5 U.S.C. §§ 552/552a (b)(7(E), (0)(7)(F), and ({)(2)}.
This Is a standard response and should not be read to Indicate that such records do or do not exist.

Part 3: General Information:

Q Record Searches. The Record/information Dissemination Section (RIDS).searches for reasonably described records by

searches, visit www, fol oov/services/information-management/folpa/requesting-fbl-records.

Gi) FBI Records. Founded in 1808, the FBI caries out a dual law enforcement and national security mission. As part of
this dual mission, the FB! creates and maintains records on various subjects; however, the FBI does not maintain records
on every person, subject, of entity.

ii) Requests for Criminal History Records or Rap Sheets. The Criminal Justice infermation Services (CJIS) Division
provides Identity History Summary Checks — often referred to as a criminal history record or rap sheet. These criminal
history records are not the same as material in an investigative “FBI file.” An tdentity History Summary Check is a
listing of information taken from fingerprint cards and documents submitted to the FBI In connection with arrests,
federal employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity
History Summary Check. Forms and directions can be accessed at www.{bi.gov/about-us/ciis/identity-history-
summary-checks. Additionally, requests can be submitted electronically at www,edo.ciis.goy, For additional
Information, please contact GuiS directly at (304) 625-5580.

(iv) National Name Check Program (NNCP). The mission of NNCP Is to analyze and report information in response to
name check requests received from federal agencies, for the purpose of protecting the United States from foreign and
domestic threats to national security. Please be advised that this Is a service provided to-other federal agencies, Private
Citizens cannot request a name check.
(oH)
(bX2)
(b)(3)
(b)(4)
(bX(5)

(b)(6)
(bx(7)

(b)(8)

(bX9)

(d}(5)

GX2)

(kX)

(kX2)

(ky)
(kX(4)
(kXS)
(kX6)

(kY(7)

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EXPLANATION OF EXEMPTIONS
SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

A . . ss
va specifically authorized under criteria established by an Exccutive order to be hept secret in the interest of rational defense or foreign
y and (B) are in fact properly classified to such Executive order,

related solely to the internal personnel rules and practices of an agency;

specifically exempted from disclosure by statute (other than section 552b of this title). provided that such statute (A) requires that the
matters be withheld from the public in such a manner as to leave no discretion on issue, of (B) establishes particular criteria for withholding
or refers to particular types of matters to be withheld:

trade secrets and commercial or financial information obtained from a person and privileged or confidential;

mucr-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
© agency,

personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
fair trial or an impartial adjudication, ( C } could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
indivi :

contained in or related to examination, operating, or condition reports prepared by, on behaif of, of for the use of an agency responsible for
the regulation or supervision of financial institutions; or

geological and geophysical information and data, including maps, concerning wells.
SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 5S2a
information compiled in reasonable anticipation of a civil action procceding;

material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
or apprehend criminals;

information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or forcign
policy, for example, information involving intelligence sources or methods,

investigatory material compiled for faw enforcement purposes, other than criminal, which did not result in toss of a right, benefit or
privilege under Federal programs, or which would identify a source who furnished information pursuant to.a promise that his/her identity

would be held in confidence;

material maintained in connection with providing protective services to the President of the United States or any other Individual pursuant
to the authority of Title 18, United States Code, Section 3056;

required by statute to.be maintained and used solely as statistical records,

investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
infarmation pursuant to a promise thal his/her identity would be held In confidence;

testing or examination material used to determine individual quell ficatlons for appointment or promotion in Federal Government service
the release of which would compromise the testing or examination process;

material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
who fumished the material pursuant to s promise that his/her identity would be held in confidence.

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"Appeal - MP FOIA 2.1.10

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‘Supplemental Information
Rance te Joel Brodaty Pequest af €B1- 2020-10-01 pat

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Exhibit "C"

10/23/20, 3:05 PM
Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 17 of 28 PagelD #:17

U.S. Department of Justice
Office of Information Policy
Sixth Floor

441 G Street, NW
Washington, DC 20530-0001

Telephon: 7-7 ==!

October 24, 2020

Joel Brodsky

3240.N. Lake Shore Drive Apt. 8C
Chicago, IL 60657
joelbrodsky@sbcglobal.net

Dear Joel Brodsky:

This is to advise you that the Office of Information Policy (OIP) of the U.S. Department
of Justice received your administrative appeal from the action of the FBI regarding Request No.

EEE on 10/23/2020.

In an attempt to afford each appellant equal and impartial treatment, OIP has adopted a
general practice of assigning appeals in the approximate order of receipt. Your appeal has been
assigned number A-202 1M Please refer to this number in any future communication with
OIP regarding this matter. Please note that if you provided an email address or another
electronic means of communication with your request or appeal, this Office may respond to
your appeal electronically even if you submitted your appeal to this Office via regular U.S.
Mail.

We will notify you of the decision on your appeal as soon as we can. If you have any
questions about the status of your appeal, you may contact me at NEEM. If you have
submitted your appeal through FOIA STAR, you may also check the status of your appeal by
logging into your account.

Sincerely,

Priscilla Jones
Supervisory Administrative Specialist

Exhibit "D"
Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 18 of 28 PagelD #:18-—-____.... .

U.S. Department of Justice

Federal Bureau of Investigation

Washington, D.C. 20535

October 30, 2020

MR. JOEL ALAN BRODSKY
APARTMENT 8C

3240 NORTH LAKE SHORE DRIVE
CHICAGO, IL 60657

FOIPA Request No.: ee
. ee . _ Subject: BRODSKY, JOEL A’
Dear Mr. Brodsky:

Thank you for utilizing the Federal Bureau of Investigation’s (FBI) Freedom of Information / Privacy Acts
(FOIPA) dispute resolution services, We-appreciate your patience regarding this matter.

Regarding your Inquiry dated October 26, 2020, we conducted a review of your request. We determined
that additional processing is required. Once your request has been recpened, it will be assigned a new FOIPA
request number. Upon receiving this number, you will be able to view the status of your request at yww.fbi.govifcia
by cficking cn FOIPA Status and entering your FOIPA Request Number. Status updates are adjusted weekly. The
‘gtatus of newly assigned requests may not be available until the next weekly update.

D.C. 20530, or you may submit an appeal through O1P’s FOIA STAR portal by creating an account following the
instructions on OIP’s website: httos:/ E /submit-and-track-reque appeal. Your appeal must be
postmarked or electronically transmitted within ninety (80) days of the date of my response to your request. If you

You may seek dispute resolution services by contacting the Office of Governmant Information Services
(OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI’s FOIA Public
Liaison by emailing folpaquestions@Ic,fbi.gov for dispute resolution services from the FBI. Ifyou submit your
-dispute resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services,”
and you should also cite the FOIPA Request Number assigned to yourrequest. Your use of dispute resolution
services does not toll the time limit to file a timely appeal with the Director, OIP, U.S. Department of Justice.

Sincerely,

Michael G. Seidel

Section Chief

Record/information

Dissemination Section
Information Management Division

Enclosure

Exhibit "E"
U.S. Department of Justice

Federal Bureau of Investigation

Washington, D.G, 20535
November 4, 2020

MR. JOEL ALAN BRODSKY

APARTMENT 8G.

3240 NORTH LAKE SHORE DRIVE
CHICAGO, IL 60657

FOIPA Request No
Subject: BRODSKY, JOE!

Dear Mr. Brodsky:

eh nee eg ane

This acknoWtedgas receipt of your Freedom of Information/Privacy Acts (FOIPA) request to the

FBI. Below you will find check boxes and informational paragraphs about your request, as well as specific
determinations required by these statutes. Please read each one carefully.

Vv.
rn.

For the purpose of assessing any fees, we have determined:

Your request has been received at FBI Headquarters for processing.

You submitted your request via the F&I's eFOIPA system.

Cr We have reviewed your request and determined it is consistent with the Fl
eFOIPA terms of service. Future comespondence about your FOIPA request will
be provided in an email link unless the record's file type is not supported by the
eFOIPA system.

i We have reviewed your request and determined It is not consistent with the FBI
eFOIPA terms of service. Future correspondence about your FOIPA request will
be sent through standard mail.

The subject of your request is.currently being processed and documents will be released
to you upon completion.

Release of responsive records will be posted to the FBI's electronic FOIA Library (The
Vault), httpy/vault.fol.gov, and you will be contacted when the release is posted.

Your request for a public interest fee waiver is under consideration and you will be advised
of the decision if fees aré applicable. 1f your feé waiver Is not granted, you will be ,
responsible for applicable fees per your designated requester fee category below.

tee wee mm ae ‘t

c As a commercial use requester, you will be charged applicable search, review,
and duplication fees in accordance with 5 USC § 552 (a)(4)(A)()(1). '

i As. an educational institution, noncommercial scientific institution or
representative of the news media requester, you will be charged applicable
duplication fees in accordance with § USC.§ 552 (a)(4)(A)GI)(D.

4 As a general (ail others) requester, you will be charged applicable search and
duplication fees in accordance with 5 USC § 552 (a)(4)(A) C(I).

Exhibit "F" |

ted: 11/18/22 Page-20-9t28-RagelD #20.

Please ch
and entering your rola Status of your FOIPA request at www. (bl. govifola by clicking on FOIPA Status
meg eted requests may not be avellable i , Status updates are adjusted weekly, The status of newly
will indi ' next weekly update. If the FOIPA has been closed th
cate that appropriate correspondence has been mailed to the address on file. °
Fi

Or questions regardi

The FOIPA Re garding our determinations, visit the www.fbi.govifoia website under “Contact Us.”
quest number li

Correspondence conceming youre request been assigned to your request. Please use this number in all

If you are not satisfied with the Federal B
u nt ureau of Investigation’s determination in response to this

req ao Deed administratively appeal by writing to the Director, Office of Information Policy (IP), United
appeal throu ol Oe Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an

ee gh OIP's PIA ST. AR portal by creating an account following the instrictions on OlP’s website:
hitos:/Anww justice covoip/sub 2.06 it-and-track-request-er-appeal. Your appeal must be postmarked or
yore teally transmitted within ninety (80) days of the date of my response to your request. tf you submit
your: ppea by mail, both the letter and the envelope should be clearly marked “Freedom of Information Act

ppeal.” Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

You may seek dispute resolution services by contacting the Office of Government Information

Services (OGIS). The contact information fer OGIS is as follows: Office of Goverment Information
Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland

_-20740-6001, e-mail at ogis@nara.aov; telephone at 202-741-8770; toll free at 1-877-684-6448; or facsimile _
at 202-741-5769. Altematively, you may contact the FBI's FOIA Public Liaison by emailing
foipaquestions@ifi.gov. If you submit your dispute resclution correspondence by email, the subject
heading should clearly state “Dispute Resolution Services.” Please also tite the FOIPA Request Number
assigned to your request so it may be easily identified.

Sincerely,

Michael G. Seidel

Section Chiof

Record/information
Dissemination Section

Information Management Division
Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 21 of 28 PagelD #:21

Joel Brodsky

From: Joel A Brodsky <joelbrodsky@sbcglobal.net>

Sent: Wednesday, January 13, 2021 10:41 AM

To: ‘FOIPAQUESTIONS'

Subject: RE: [EXTERNAL EMAIL] - FOIA Request EN. Brodsky, Joel Alan
Importance: High

Sir,

| would like to submit my request for expedited processing of my FOIA request

Gl The basis for this request is 28 C.F.R. § 16.5 (d) (1) (iii):“The loss of substantial due
process of rights.”. | am involved in litigation where (1) one of the person involved as a
person of interest in my cooperation as a Cl is involved in litigation that is the subject of
intense media coverage and | need some confirmation that | was a Cl and the subject matter
(if not the identity that the person) that was the subject of my cooperation; and (2) some of
the things | did as a cooperating informant can be used for showing good character in other
litigation | am involved in and I need official proof of my status as a Cl, and the subject the
bureau was looking at, to be able to submit evidence of my good character, without which |
will lose important due process rights. (as a Cl, | put myself in some danger, without any
benefit or expectation of benefit, to assist the FBI in at least three (3) investigations, one (1)
involving corruption in the local (Chicago, Cook County) court system and one (1) involving
an organized crime murder. As the records will show, | even wore a recording devise (wire)
to an EE at great personal risk. | would hope for some

‘appreciation from the bureau now that over 20 years later | am asking for the release of
information concerning what | did that can help me in litigation.)

Joel A. Brodsky

joelbrodsky@sbcglobal.net

Exhibit "G"
oa Cs £22-CV-06462 Documem #ft Fited: 11/18/22 Page 22 of 28 PagelD #:22

U.S. Department of Justice

Federal Bureau of Investigation
Washington, D.C. 20535

. January 21, 2021
MR. JOEL ALAN BRODSKY
APARTMENT 8C
3240 NORTH LAKE SHORE DRIVE
CHICAGO, IL 60657
FOIPA Request No.:
Subject: BRODSKY, JOEL ALAN
Dear Mr. Brodsky:

This is in reference to your letter to the FBI, in which you requested expedited processing for the above-
referenced Freedom of information/Privacy Acts (FOIPA) request. Undar Department of Justice (DOJ) standards,
expedited processing can only be granted in the following situations. =

You have requested expedited processing according to:

Tl 28 C.F.R. §16.5 (e}(1)(1): “Circumstances in which the tack of expedited treatment could reasonably
be expected to pose an imminent threat to the life or physical safety of an individual.”

ri 28 C.F.R. §16.5 (@)(1)(li): “An urgency to inform the public about an actual or alleged federal!
government activity, if made by a person primarily engaged in disseminating information.”

Bl 28 C.F.R. §16.5 (6}(1}(iii): “The loss of substantial due process of rights.”

Fi 28 C.F.R. §16.5 (e)(1) Gv): “A matter of widespread and excepticnal media Interest In which there
exist possible questions abcut the govemment's integrity which affect public confidence.”

You have not provided enough information conceming the statutory requirements for expedition; therefore,
your request is dertied.

For questions regarding our determinations, visit the wrw.foi.govifoia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence conceming your request.

if you are not satisfied with the Federal Bureau of Investigation's determination in response to this request,
you may administratively appeal by writing to the Director, Office of Information Pelicy (OIP), United States
Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
OlP's FOIA STAR portal by creating an account foilowing lhe instructions on OIP's website:
hitos:/Avww sovicip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
transmitted within ninety (90) days of the date of my response to your request. _ If you submit your appeal by mail,
both the letter and the envelope should be clearly marked “Freedom of Information Act Appeal.” Please cite the,
FOIPA Request Number assigned to your request so it may be easily identified.

You may seek dispute resolution services by contacting the Office of Government information Services
(OGIS). The contact information for OGIS Is as follaws: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
ogis@nara:gov: telephone at 202-741-5770; toll free at 1-877-684-6448; of facsimile at 202-741-5769. Altematively,
you may contact the FBI's FOIA Public Liaison by emailing folsaquestions@fbi.qov. Ifyou submit your dispute
resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so it may be easily identified.

Sincerely,

Michael & Seidel

Section Chief

Recordinformation “1.44 NTN
Dissemination Section Exhibit H
Information Management Division

Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 23 of 28 PagelD #:23

Joel Brodsky

From: Joel A Brodsky <joelbrodsky@sbcglobal.net>

Sent: Saturday, February 27, 2021 5:18 PM

To: ‘FOIPAQUESTIONS'

Subject: RE: [EXTERNAL EMAIL] - FOIA Request 9 Brodsky, Joel Alan
Importance: High

Sir,

| would like to re-submit my request for expedited processing of my FOIA request
EE. Vy previous request was rejected because it did not contain sufficient
detail. After reviewing the request, | believe your office was correct and | need to provide
more detail. Therefore, rather than appeal the denial of the request for expedited
processing | am re-submitting it with the necessary additional information.

The basis for the request for expedited processing of my FOIA request
WMH is 28 C.F.R. § 16.5 (d) (1) (iii): The loss of substantial due process of rights.” | am a party
to legal proceedings before the Illinois Supreme Court, in the case of In Re: Joel Alan Brodsky

in Bsa series of hearings will begin regarding the
Rae) Yhese will be before 3 iaiaaaiihal

Court. (There will also be concurrent proceedings before the

in the case of In Re Joel Alan
In the case the major issue will be my character, integrity,
ethics, and dedication to the legal system and the rule of law.

As my FOIA request states, | was a confidential informant (CI) 20 years ago, who at
times wore recording devises and acted undercover in investigations into corruption in the
Cook County Illinois court system. Around the same time | was also involved in an organized
crime murder investigation where, on two (2) occasions, | wore a recording devise on
organized crime members in trying to solve the murder of an organized crime
member. Documents showing all of this will be substantial direct proof of, and
corroborative evidence of, my good character, integrity and my dedication to an honest
justice system. Also evidence that will show that | was willing to put myself in dangerous
situation to fight against organized crime will be useful in showing my dedication to the legal
system and the rule of law. This is the major issue in the above referenced cases starting in
HEE if | do not have the evidence and documents which | have requested in my

FOIA request | will not be able to submit substantial proof to the iikalinaame a see eee ra
GE and | will therefore lose the important due process right of being able to obtain

Exhibit "I"
Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 24 of 28 PagelD #:24

from and present evidence favorable to my case. | would hope and expect that the bureau
would want to see that | did not lose this important due process right. | would also hope for
some appreciation from the bureau, over 20 years later after | went into dangerous
situations on their behalf, when | am asking for the release of information concerning the
assistance | gave the FBi, which | need in order to present evidence in a court of law and
preserve my due process right to present favorable evidence that only the FBI has.

Thank you for your consideration of this more detailed re-submission of my request
for expedited processing under 28 C.F.R. § 16.5 (d) (1) (iii) of my FOIA request i

Joel A. Brodsky

joelbrodsky@sbcglobal.net

From: FOIPAQUESTIONS [mailto:

Sent: Wednesday, December 30, 2020 9:26 AM

To: Joel A Brodsky

Subject: RE: [EXTERNAL EMAIL] - FOIA Request {EEEEBrodsky, Joel Alan

Good morning,

Pursuant to the U. S. Department of Justice (DOJ) standards permitting expedition, expedited processing can only be
granted when it is determined that a FOIPA request involves one or more of the below categories:

1. 28 C.F.R. § 16.5 (d) (1) (i): “Circumstances in which the lack of expedited treatment could reasonably be
expected to pose an imminent threat to life or physical safety of an individual.”

2. 28 C.F.R. §16.5(d) (1) (ii): “An urgency to inform the public about an actual or alleged federal government
activity, if made by a person primarily engaged in disseminating information.”

3, 28 C.F.R. § 16.5 (d) (4) (iii): “The loss of substantial due process of rights.”

4, 28 C.F.R. § 16.5 (d) (1) (IV): “A matter of widespread and exceptional media interest in which there exist

possible questions about the government's integrity which affect public confidence.”

Requesters must submit a request for Expedited Processing and upon receipt and review, written notification will be
mailed to the requester notifying them that Expedited Processing has been “granted” or “denied”. If approved, the
Record/Information Dissemination Section will process the request “as soon as practicable.”

Additional information regarding Expedited Processing can be viewed by accessing the
following: and click on the U. S. Department of Justice Reference Guide link (Section VI:
Expedited Processing).

if you require further assistance, please contact i

Thank you,

Public Information Officer
FBI - Information Management Division
170 Marcel Drive

Exhibit "I"
. Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 25 of 28 PagelD #:25

Joel Brodsky

From: FOIPAQUESTIONS@FBI.GOV

Sent Monday, May 10, 2021 12:34 PM

To: Joel A Brodsky

Subject: RE: [EXTERNAL EMAIL] - FOIA Request (EEE Brodsky, Joel Alan

Good afternoon,

Thank you for contacting foipaquestions@fbi.gov. Your second request for expedited processed was also denied.
Respectfully,

Public information Officer

FBI - Information Management Division

200 Constitution Drive
Winchester, VA 22602

E: foipaquestions@fbi.gov

Do you have further questions about the FOI/PA process? Visit us at http://www.fbi.gov/foia

Please check the status of your request online ao Status updates are

performed on a weekly basis.

Note: This is a non-emergency email address. If this is an emergency, please call 911 directly. If you need to report a tip
for immediate action, please contact FBI Tips at http://tips.fbigov/ or reach out to your local field office.

Exhibit "J"
. Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 26 of 28 PagelD #:26

Joel Brodsky

From: FOIPAQUESTIONS@FBILGOV

Sent: Tuesday, May 11, 2021 10:18 AM

To: Joel A Brodsky

Subject: RE: [EXTERNAL EMAIL] - FOIA Request IEEE Brodsky, Joel Alan

Good morning,

Thank you for your inquiry regarding the status of your Freedom of Information Act/Privacy (FOIPA) request. Areview
of your request has determined the following:

The request is presently in Initial Processing, where the assigned analyst is searching for, retrieving and reviewing
potentially responsive records.

Requests are processed in the order in which they are received through our multi-track processing system. Requests are
divided into two primary tracks—simple (under 50 pages of potentially responsive documents) and complex (over 50
pages of potentially responsive documents). Complex requests are further divided into medium, large, and extra-large
sub-tracks based upon request size. Simple track requests typically require the least amount of time to

process. Currently, simple track cases average approximately 104 days from the date of receipt for processing. Our
complex requests in the medium processing track are currently averaging 853 days, large processing track are currently
averaging approximately 1,786 days, and extra-large processing track are currently averaging 2,500 days for processing.

The search for responsive records is ongoing for your request, so we do not yet know into which track it will fall. The
estimated date of completion is therefore based on the average processing time of complex requests in the large
processing track. Accordingly, the estimated date on which the FBI will complete action on your request is 1,786 days
from the date the FBI opened your request. Once the search has been completed, you may request an updated
estimated date of completion.

Additional information regarding the Freedom of Information Act/Privacy is available at http://www. fbi.gov/ or
http://www. fbi.gov/foia/. If you require additional assistance please contact foipaquestions@fbi.gov.

Please check the status of your request online at http://vault.fbi.gov by clicking on the “Check Status of Your FOI/PA
Request” link. Status updates are performed on a weekly basis. If your request does not yet appear in the system,
please check back later in the week.

Respectfully,

Public Information Officer

FBI - information Management Division
200 Constitution Drive

Winchester, VA 22602

ee
E: foipaquestions@fbi.gov

Do you have further questions about the FOI/PA process? Visit us at http://www. fbi.gov/foia

Please check the status of your request online at ee Status updates are
performed on a weekly basis.
*1..,+ Vf "
Exhibit "K

“
, Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 27 of 28 PagelD #:27

Joel Brodsky

From: FOIPAQUESTIONS@FBILGOV
Sent. Thursday, September 01, 2022 10:11 AM
To: joelbrodsky@sbcglobal.net

Subject: HE - O14 to FBI

Good morning,

This email is being sent in reference to the voicemail you left with our office regarding FOIA Request i A
review of your request has determined the following: The request is presently awaiting assignment to a Disclosure
analyst who will then review the records to determine if any redactions are required pursuant to subsections of Title 5,
U. S. Code, Section 552 and 552a,

You may check the status of your request online at http://vault.fbi.gov by clicking on the ‘Check Status of Your FOI/PA
Request’ link. Online status reports are updated weekly.

Respectfully,

Public Information Officer

FBI - Information Management Division
200 Constitution Drive

Winchester, VA 22602

E: foipaquestions@fbi.gov

Do you have further questions about the FOI/PA process? Visit us at http://www.fbi.gov/foia

Please check the status of your request online at ee Status updates are

performed on a weekly basis.

Note: This is a non-emergency email address. If this is an emergency, please call 911 directly. If you need to report a tip
for immediate action, please contact FBI Tips at http://tips.fbi.gov/ or reach out to your local field office.

Exhibit "L"
. Case: 1:22-cv-06462 Document #: 1 Filed: 11/18/22 Page 28 of 28 PagelD #:28

TEP icansrsanin
aaa. eo
ete eo PAE Le Ve gS $ « . ES

FBI Records: The Vault 7 = cos [SetectLanguage ~) EX Got Fat updates

Vautt Home » FOPS

Check Status of Your FOIA Request

SEE (nto the system. if your FOIPA number's (EEEEpesse ents: EEN into the system. if you
quest, please e-mail fclpaquesticns@pibl.gov.

formation Act | Legal Notices |
pov is art official site of the 11.5. go

Exhibit "M"
